                Case:18-18945-TBM Doc#:7 Filed:10/12/18                                            Entered:10/12/18 18:01:49 Page1 of 1


        Fill in this information to identify the case:
 Debtor name Cardel Master Builder, Inc.
 United States Bankruptcy Court for the: DISTRICT OF COLORADO,                                                                                   Check if this is an
                                               DENVER DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 AFCO                                                        Insurance                                                                                                           $0.00
 5600 N River Rd Ste
 400
 Rosemont, IL
 60018-5187
 Benz Model and                 c/o Jamar D.                 Litigation                Disputed                                                                                  $0.00
 Talent Agency                  Jordan, Esq.
 11900 Biscayne
 Blvd Ste 511
 Miami, FL
 33181-2749
 Clocktower at                  c/o BRC Real       Litigation                          Disputed                                                                                  $0.00
 Highlands Ranch                Estate Corporation
 Town
 Center Owner's
 Association, Inc.
 9331 Commerce
 Center St Unit A1
 Highlands Ranch,
 CO 80129-1712
 Clocktower at                  c/o Advance HOA              Litigation                Disputed                                                                                  $0.00
 Highlands Ranch                Management, Inc.
 Town
 Center Owner's
 Association, Inc. c/o
 3600 S Yosemite St
 Ste 400
 Denver, CO
 80237-1816
 Hillsborough                                                Utilities                                                                                                       $600.00
 County Water
 Department
 9811 Sheldon Rd
 Tampa, FL
 33635-1051




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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